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             EXHIBIT C
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                                     In re Stanadyne LLC, et al.
                              Case No. 23-10207 (Jointly Administered)
                                           Bankr. D. Del.

                                    SETTLEMENT TERM SHEET

        This term sheet (the “Term Sheet”) sets forth the terms of a comprehensive settlement in
the above-referenced chapter 11 cases (the “Chapter 11 Cases”) among the Prepetition Agent (as
defined below), the Purchaser (as defined below), and the Official Committee of Unsecured
Creditors appointed in the Chapter 11 Cases (the “Committee” 1 and, collectively with the
Prepetition Agent and the Purchaser, the “Parties”) with respect to that certain Asset Purchase
Agreement, dated as of May 8, 2023, by and among the debtors in possession in the above-
captioned cases (the “Debtors”) (other than Stanadyne PPT Group Holdings, Inc.) and Purchaser
(as the same may be amended, amended and restated, supplemented, or otherwise modified from
time to time, the “APA”) and all other matters related to any challenges, claims or causes of actions
against the Prepetition Agent, the Prepetition Secured Parties (as defined below) and/or the
Purchaser under the Cash Collateral Order, the APA, or otherwise, including such matters set forth
in the section titled “Prepetition Obligations and Release of Claims” below. Capitalized terms that
are not otherwise defined herein shall have the meanings ascribed to them in the APA.

    Settling Parties            a) The Prepetition Agent
                                b) The Purchaser
                                c) The Committee

                                The term “Prepetition Agent” refers to Cerberus Business Finance,
                                LLC, in its capacity as administrative agent and collateral agent for
                                the lenders (the lenders together with the Prepetition Agent,
                                collectively, the “Prepetition Secured Parties”) party to that certain
                                Financing Agreement, dated as of May 2, 2017 (as amended,
                                amended and restated, supplemented, or otherwise modified from
                                time to time).

                                The term “Purchaser” refers to Stanadyne Operating Company LLC
                                (formerly known as S-PPT Acquisition Company LLC), in its
                                capacity as Purchaser under the APA.

    Binding Agreement;          This Term Sheet shall constitute a binding agreement among the
    Conditions                  Parties; provided, the Parties rights and obligations under this Term
                                Sheet are conditioned upon (a) entry of an order approving the Sale
                                Order modified as necessary to reflect this Term Sheet and
                                attaching this Term Sheet as an exhibit, and (b) the occurrence of
                                the Closing.


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  The term “Committee” refers to the Official Committee of Unsecured Creditors appointed in the Chapter 11 Cases
in its capacity as such and not the rights or obligations of any member serving on the Committee in its individual
capacity.
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    Settlement Amount             The Parties agree that:

                                  a) subject to the terms hereof, the Purchaser will fund (or cause to
                                     be funded) $4,000,000 (the “Settlement Amount”) comprised of
                                     (i) the Wind-Down Funding Amount, (ii) the Trust Funding
                                     Amount, and (iii) the Initial GUC Distribution Amount, each as
                                     described below;

                                  b) the Trust Funding Amount and the Initial GUC Distribution
                                     Amount shall constitute additional “Purchase Price” under the
                                     APA;

                                  c) the Settlement Amount shall be allocated and funded as
                                     follows:

                                      i) $1,000,000, which shall be the amount of “Total
                                         Disbursements” in the Wind-Down Budget 2 to be finalized
                                         pursuant to Section 4.24 of the APA (the “Wind-Down
                                         Funding Amount”), and shall be funded at the Closing in
                                         accordance with the APA. The Wind-Down Budget, and
                                         any transition services agreement entered into pursuant to
                                         Section 8.16 of the APA shall be mutually acceptable to the
                                         Prepetition Agent, the Purchaser and the Committee, in
                                         consultation with the Debtors;

                                      ii) $375,000 (the “Trust Funding Amount”) to fund the
                                          operation of the Liquidating Trust (as defined below)
                                          consistent with the Liquidating Trust Agreement (as defined
                                          below), with such amount to be funded within five (5)
                                          business days following the effective date of Chapter 11
                                          plan (a “Plan”) establishing the Liquidating Trust. The Plan
                                          and documents governing the creation of the Liquidating
                                          Trust must be acceptable in form and substance to the
                                          Prepetition Agent and the Committee and may not alter or
                                          modify the terms of this Settlement Term Sheet, unless
                                          agreed to in writing by the Prepetition Agent and the
                                          Committee;

                                      iii) $2,625,000 (as such amount may be adjusted in accordance
                                           herewith, the “Initial GUC Distribution Amount”) for
                                           distribution to general unsecured creditors of the Debtors’
                                           estates other than the Prepetition Secured Parties, which
                                           amount shall be transferred to the Liquidating Trust within
                                           five (5) business days following its creation; provided,

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    The Wind-Down Budget is attached hereto as Exhibit 1.

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                             however, that if the actual costs and expenses of the matters
                             set forth in the Wind-Down Budget are less than
                             $1,000,000, such difference shall be delivered to the
                             Liquidating Trust and the amount of the Initial GUC
                             Distribution Amount shall be increased on a dollar-for-
                             dollar basis by the amount of such difference.

Purchaser Assumed   Each of the following, without duplication, shall constitute
Liabilities         “Assumed Liabilities” under the APA:

                    a) Liabilities, including Core Liabilities (as defined below), of the
                       Debtors incurred and outstanding as of the Closing Date with
                       respect to each customer of the Debtors that becomes a
                       customer of the Purchaser from and after the Closing Date;

                    b) Core Liabilities incurred and outstanding as of the Closing Date
                       with respect to customers of the Debtors that do not become
                       customers of the Purchaser from and after the Closing Date
                       solely to the extent such Core Liabilities are known as of the
                       Closing Date as (i) reflected in the Debtors’ books and records
                       or filed proofs of claim and (ii) set forth on a schedule of the
                       amounts of such Core Liabilities acceptable to the Purchaser
                       (or, if not acceptable, subject to objection by the Purchaser after
                       Closing), which schedule shall (A) separately list by customer
                       (x) the amount of such Core Liabilities as of the date that is
                       thirty (30) days prior to the Closing Date and (y) the estimated
                       amount of any incremental Core Liabilities between the date
                       that is thirty (30) days prior to the Closing Date and the Closing
                       Date and (B) be delivered by the Debtors to the Purchaser and
                       the Committee five (5) business days prior to the Closing Date,
                       provided, however, amounts with respect to the foregoing
                       clause (y) shall be subject to finalization within thirty (30) days
                       after Closing to account for continuing sales and returns during
                       such period through the Closing Date; and

                    c) Each Critical Vendor Claim (as defined in that certain Final
                       Order (I) Authorizing the Debtors to Pay Prepetition Claims of
                       (A) Domestic Critical Vendors, (B) Shippers, Warehousemen,
                       and other Lienholders, and (C) Foreign Vendors; (II)
                       Authorizing Banks to Honor and Process Related Checks and
                       Electronic Transfers; and (III) Granting Related Relief [Docket
                       No. 186]) to the extent not paid by the Debtors on or prior to the
                       Closing Date.

                    “Core Liabilities” means Liabilities of the Debtors owed to
                    customers of the Debtors as of the Closing Date in connection with

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                     the “core” refund program offered by the Debtors to certain of its
                     customers for applicable products actually and properly returned
                     and sold to the Debtors for remanufacture, provided that Core
                     Liabilities will only be Assumed Liabilities to the extent set forth
                     above in (a) and (b).

Estate Claims        Notwithstanding anything in the APA to the contrary, the Parties
                     agree that all Avoidance Actions shall be waived and shall not be
                     pursued by the Parties or any representative of any Debtor’s estate,
                     except that:

                     a) Avoidance Actions against insiders (as that term is defined in
                        11 U.S.C. § 101(31)) (“Insider Avoidance Actions”) shall not
                        be waived and shall comprise Excluded Assets; and

                     b) Avoidance Actions against non-insiders other than Go-Forward
                        Creditors (as defined below) (the “Preserved Avoidance
                        Claims”) shall not be waived and shall comprise Purchased
                        Assets under the APA; provided, however, that the Preserved
                        Avoidance Claims shall be preserved solely for the purpose of
                        permitting the Purchaser to set off such Preserved Avoidance
                        Claims against any claims of the applicable creditors (other than
                        Go-Forward Creditors) that constitute Assumed Liabilities
                        under the APA, and Purchaser shall not be entitled to any
                        affirmative recovery on account of any such Preserved
                        Avoidance Claims.

                     All commercial tort claims and causes of action belonging to the
                     Debtors’ estates (including, without limitation, any and all claims
                     the Debtors’ estates may have (i) against any officers and directors
                     of the Debtors and rights of the Debtors’ estates to any insurance
                     proceeds applicable thereto or (ii) related to or arising under or in
                     connection with that certain Contribution Agreement, dated as of
                     March 9, 2019, by and among Pure Power Technologies, Inc., Pure
                     Power Technologies, LLC, Stanadyne Parent Holdings, Inc., and
                     Stanadyne LLC, and the transactions contemplated thereby,
                     including, without limitation, any rights of the Debtors’ estates to
                     any insurance proceeds applicable thereto) other than such claims
                     against Go-Forward Creditors (as defined below) (collectively, the
                     “Non-Go-Forward Commercial Tort Claims”) shall comprise
                     Excluded Assets.

                     The Insider Avoidance Actions and the Non-Go-Forward
                     Commercial Tort Claims shall be collectively referred to herein as
                     the “Liquidating Trust Claims”. All Liquidating Trust Claims shall
                     be transferred to the Liquidating Trust on the effective date of the

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                       Liquidating Trust. The Trustee shall have authority to pursue all
                       Liquidating Trust Claims as a representative of the Debtors’ estates.

                       For the avoidance of doubt, the Parties waive all Avoidance
                       Actions and Commercial Tort Claims that the Debtors’ estates may
                       have against Go-Forward Creditors, and no Party shall be entitled
                       to any affirmative recovery or right of setoff with respect to any
                       such claims against Go-Forward Creditors.

                       The term “Go-Forward Creditors” as used herein means customers,
                       vendors, and other creditors who continue to do business with the
                       Purchaser after the Closing Date.

Designation Rights     If and solely to the extent and for so long as the Purchaser requests
Assets                 in writing that any Designation Rights Assets be maintained
                       following the Closing, the Purchaser shall fund any and all
                       maintenance costs, including lease costs and other third party costs,
                       actually incurred by the Debtors in connection with such requested
                       maintenance of the Designation Rights Assets, in accordance with
                       and solely to the extent set forth in Section 1.5(b) of the APA.

Windsor, CT Property   If and solely to the extent and for so long as the Purchaser requests
                       in writing that the Windsor, CT Property be maintained following
                       the Closing, the Purchaser shall fund the carrying costs actually
                       incurred by the Debtors in connection with such requested
                       maintenance of the Windsor, CT Property, including without
                       limitation, insurance and real property taxes.

                       If, subject to the terms of the APA, the Debtors sell the Windsor,
                       CT Property, the proceeds of such sale, net of only the costs of such
                       sale (as well as any unpaid carrying costs for which Purchaser is
                       responsible as set forth above), and incremental US Trustee fees
                       associated therewith, shall be paid to the Prepetition Agent for the
                       benefit of the Prepetition Secured Parties. The Debtors’ estates
                       shall cause such net proceeds to be delivered directly by the
                       purchaser of the Windsor, CT Property to the Prepetition Agent,
                       and the Deficiency Claim (as defined below) shall be reduced by
                       the amount of such net proceeds.

Liquidating Trust      The “Liquidating Trust” shall be:

                       a) a liquidating trust established for the benefit of the Debtors’
                          creditors and governed by a trust agreement in form and
                          substance acceptable to the Prepetition Agent and the
                          Committee (the “Liquidating Trust Agreement”);



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                                  b) administered by Brad Deitz, as trustee (the “Trustee”) 3 under
                                     the supervision of the Liquidating Trust Board (as defined
                                     below) and in accordance with the terms of the Liquidating
                                     Trust Agreement;

                                  c) overseen by an oversight board consisting of two members: (i)
                                     one member appointed by the Prepetition Agent and (ii) one
                                     member appointed by the Committee (the “Liquidating Trust
                                     Board”);

                                  d) administered for the benefit of the Debtors’ unsecured creditors
                                     with respect to unsatisfied general unsecured claims and the
                                     Prepetition Secured Parties with respect to the Deficiency
                                     Claim.

                                  The Trustee shall be compensated as follows: (a) a quarterly fee of
                                  $20,000 plus (b) cash in an amount equal to 1.5% of the net
                                  proceeds of the Liquidating Trust litigation recoveries.

                                  The Liquidating Trust Agreement shall provide that, in the event of
                                  a tie in connection with any decision subject to a vote of the
                                  Liquidating Trust Board, the final decision shall be made by the
                                  Trustee.

    Funding and Purpose of        Upon the creation of the Liquidating Trust, the Trust Funding
    Liquidating Trust             Amount, the Initial GUC Distribution Amount, and Liquidating
                                  Trust Claims shall be transferred to the Liquidating Trust as set
                                  forth above.

                                  The Trustee shall be empowered to: (i) assert, litigate, settle, and/or
                                  otherwise resolve the Liquidating Trust Claims for the benefit of
                                  the Liquidating Trust and its beneficiaries and (ii) resolve, litigate,
                                  and/or object to claims against the Debtors’ estates other than
                                  claims allowed hereunder or by the Bankruptcy Court.

                                  The proceeds of the Liquidating Trust Claims shall be utilized to
                                  fund the administration of the Liquidating Trust and the
                                  distributions to the beneficiaries of the Liquidating Trust.

                                  The Initial GUC Distribution Amount shall be distributed pro rata
                                  among the beneficiaries of the Liquidating Trust other than the
                                  Prepetition Agent, it being agreed among the Parties that the
                                  Prepetition Secured Parties shall not recover any amounts from the


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  In the event that Mr. Deitz is unable or unwilling to serve, the Prepetition Agent shall identify two alternatives for
the Committee to select between to serve as the Trustee on substantially the same terms as Mr. Dietz.

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                          Initial GUC Distribution Amount. Any distributions made by the
                          Liquidating Trust to its beneficiaries from any assets of the
                          Liquidating Trust other than the Initial GUC Distribution Amount
                          shall be distributed pro rata to all of the beneficiaries of the
                          Liquidating Trust, including the Prepetition Agent for the benefit of
                          the Prepetition Secured Parties on account of the Deficiency Claim.

                          Notwithstanding anything to the contrary herein, the Trustee shall
                          have the authority to create reserves of Liquidating Trust assets
                          (including with respect to the Initial GUC Distribution Amount) for
                          any reason consistent with his duties under the Liquidating Trust
                          Agreement.

Prepetition Obligations   The Committee hereby:
and Release of Claims
                          a) adopts the admissions, stipulations, acknowledgements and
                             agreements made by the Debtors as reflected in Paragraph E of
                             the Cash Collateral Order;

                          b) reaffirms its agreement under that certain Stipulation Regarding
                             Unencumbered Assets and Occurrence of Investigation
                             Termination Date entered into between the Prepetition Agent
                             and the Committee and approved by order of the Bankruptcy
                             Court [Docket No. 293] (the “Prior Stipulation”) that the
                             Investigation Termination Date (as defined in the Cash
                             Collateral Order) has passed and the Committee has waived all
                             rights to assert any Challenge (as defined in Cash Collateral
                             Order);

                          c) agrees that, upon the occurrence of the Closing, the Prepetition
                             Agent, on behalf of the Prepetition Secured Parties, will have an
                             allowed deficiency claim (the “Deficiency Claim”) in the
                             amount of $87,252,851.11, which shall remain secured by the
                             Excluded Assets, other than the Liquidating Trust Claims,
                             which will not be subject to the security interest of the
                             Prepetition Secured Parties; provided, however, that the amount
                             of the Deficiency Claim shall be reduced on a dollar-for-dollar
                             basis by any net proceeds paid to the Prepetition Agent from
                             any Excluded Assets;

                          d) releases the Prepetition Secured Parties from any and all claims
                             and causes of action related to the Debtors, their estates, the
                             Prepetition Obligations (as defined in the Cash Collateral
                             Order), or these Chapter 11 Cases; and




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                     e) consents to the APA, the Sale Order and, in each case, the
                        transactions contemplated thereby.

                     The foregoing agreements, admissions, stipulations,
                     acknowledgements, reaffirmations, and releases by and of the
                     Committee shall be binding on the Trustee and any chapter 7
                     trustee, as applicable.

Chapter 11 Plan      Any Plan confirmed in the Chapter 11 Cases (a) may not alter or
                     modify the terms of this Settlement Term Sheet, the APA or the
                     Sale Order, unless agreed to in writing by the Prepetition Agent and
                     the Committee and, with respect to the APA and Sale Order only,
                     the Debtors and (b) must incorporate the terms set forth in the
                     section titled “Prepetition Obligations and Release of Claims”
                     above.

Implementation       The settlement, including without limitation the payment of the
                     Wind-Down Funding Amount, shall be effective upon entry of the
                     Sale Order.

                     The Liquidating Trust shall be implemented via a Plan or such
                     other method as mutually agreed to by the Prepetition Agent and
                     the Committee, after consultation with the Debtors.

                     In the event that the Chapter 11 Cases are converted to Chapter 7,
                     the rights of the Liquidating Trust set forth herein shall inure to the
                     benefit of the Chapter 7 Trustee, including without limitation, the
                     Trust Funding Amount and the Initial GUC Distribution Amount.




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                                           EXHIBIT 1

                                    WIND-DOWN BUDGET

                                                                             ($ in thousands USD)
 Description                                                                            Amount
 Professional Fees through Plan Effective Date                                               $250
 Wind-down Manager/Trustee Fees (does not include incentive fees)                             $80
 Professional Support for Wind-down Manager/Trustee:                                         $560
 US Trustee Fees (8/1 - 9/30)                                                                 $35

 Miscellaneous / Other (includes items such as claims agent, service of solicitation          $75
 materials, independent manager, Purchaser assistance with accounting and
 reconciliation costs, as needed)
 Total Disbursements                                                                       $1,000


        Purchaser agrees that it will make its personnel available at no cost to the responsible
officer of the Debtors referred to in Section 2.2 of the APA or, after the effective date of a Plan,
the Trustee, to provide information and assistance with accounting and claim reconciliation
matters, for the following periods and capped personnel hours: (a) 25 hours per month for each of
the first two months after the Closing; (b) 20 hours per month for each of the third and fourth
months after the Closing; and (c) 10 hours per month for months five through 12 after the
Closing. If additional assistance is requested by such responsible officer or the Trustee, as
applicable, the Purchaser shall provide such assistance as is reasonably requested for a reasonable
period of time on customary terms for the assistance requested and the requesting party shall pay
Purchaser its actual costs for providing such assistance and the out-of-pocket expenses incurred
by the Purchaser in connection therewith.
